                                 UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF TENNESSEE
                                      NASHVILLE DIVISION

LEVI N. THOMAS,                                    )
                                                   )
                   Plaintiff,                      )
                                                   )       CIVIL ACTION NO.
         vs.                                       )
                                                   )
GREYHOUD LINES, INC. and                           )
FIRSTGROUP AMERICA, INC.,                          )
                                                   )
                   Defendants.                     )
                                                   )

                                        NOTICE OF REMOVAL

         COME NOW Greyhound Lines, Inc. and FirstGroup America, Inc., Defendants in the above-

styled action, and pursuant to 28 U.S.C. § 1446 hereby remove the action now pending in the Circuit

Court of Davidson County, State of Tennessee, Case No. No. 17C1491 styled Levi N. Thomas, v.

Greyhound Lines, Inc. and FirstGroup America, Inc., wherein Plaintiff demands judgment against

Defendants, and respectfully show unto this Honorable Court as follows.

         1.        Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332.

         2.        This is a civil action regarding Plaintiff Levi N. Thomas’s claims of negligence

against the Defendant. Based upon the allegations within Plaintiff’s Complaint and his counsel’s

demand in excess of $75,000, Defendants in good faith aver that Plaintiff is seeking to recover

damages in excess of $75,000.00, plus interest, costs and attorney's fees.

         3.        At all times material to this action, Plaintiff was a citizen of the State of Tennessee.

         4.        At all times material to this action, Defendant Greyhound Lines, Inc. was a Delaware

corporation, having its principal place of business in Cincinnati, Ohio



4824-0859-7324.1
        Case 3:17-cv-01069 Document 1 Filed 07/21/17 Page 1 of 4 PageID #: 1
         5.        At all times material to this action, Defendant FirstGroup America, Inc. was a

Delaware corporation, having its principal place of business in Cincinnati, Ohio.

         6.        This action was commenced in the Circuit Court in and for Davidson County,

Tennessee. Defendants Greyhound Lines, Inc. and FirstGroup America, Inc., initially learned of

Plaintiff’s Complaint, said pleading specifically naming them as Defendants for the first time, on or

about June 26, 2017, following service of process on CT Corporation System, Knoxville, Tennessee.

         7.        The Affidavit of counsel, Brantley C. Rowlen, Esq., is submitted as Exhibit ‘A’ in

support of this Notice of Removal.

         8.        Copies of all process, pleadings and orders served upon Defendants and such other

papers that are attachments as required by 28 U.S.C. § 1446 and local court rules, are filed herein.

(See composite Exhibit ‘B’).

         9.        Pursuant to 28 U.S.C. §1446(d), Defendants have provided written notice to all

adverse parties and have filed a copy of this Notice of Removal with the Clerk of the Circuit Court in

and for Davidson County, Tennessee. (A copy of the Notice of Filing Notice of Removal to

opposing counsel is attached hereto as Exhibit ‘C’; a copy of the Certification of Notice of Removal

is attached hereto as Exhibit ‘D’).



         WHEREFORE, Defendants Greyhound Lines, Inc. and FirstGroup America, Inc.,

respectfully submit this matter to this Court's jurisdiction.



                                     (signature on following page)




4824-0859-7324.1
        Case 3:17-cv-01069 Document 1 Filed 07/21/17 Page 2 of 4 PageID #: 2
         This 21st day of July, 2017.

                                        LEWIS BRISBOIS BISGAARD & SMITH, LLP

                                        /s/Brantley C. Rowlen
                                        Brantley C. Rowlen
                                        Tennessee Bar No. 29730
1180 Peachtree Street, NE
Suite 2900                              Counsel for Defendants
Atlanta, Georgia 30309                  Greyhound Lines, Inc. and FirstGroup America, Inc.
404.348.8585
404.467.8845 (fax)
brantley.rowlen@lewisbrisbois.com




4824-0859-7324.1
        Case 3:17-cv-01069 Document 1 Filed 07/21/17 Page 3 of 4 PageID #: 3
                                  CERTIFICATE OF SERVICE

         I hereby certify that I have this day served the within and foregoing Notice of Removal by

filing same with the Clerk of the Court utilizing CM/ECF, and by sending a copy via the United

States Postal Service to counsel for Plaintiff, addressed as follows:

                                    Julie A. Reasonover, Esq.
                                   REASONOVER LAW FIRM
                                     208 23rd Avenue, North
                                             Suite 201
                                      Nashville, TN 37203
                                     Attorney for the Plaintiff

         This 21st day of July, 2017.



                                                 /s/Brantley C. Rowlen
                                              Brantley C. Rowlen
                                              Tennessee Bar No. 29730
1180 Peachtree Street, NE
Suite 2900                                    Counsel for Defendants
Atlanta, Georgia 30309                        Greyhound Lines, Inc. and FirstGroup America, Inc.
404.348.8585
404.467.8845 (fax)
brantley.rowlen@lewisbrisbois.com




4824-0859-7324.1
        Case 3:17-cv-01069 Document 1 Filed 07/21/17 Page 4 of 4 PageID #: 4
